Case 17-42234-pwb   Doc 17    Filed 11/29/17 Entered 11/29/17 15:35:35   Desc Main
                             Document      Page 1 of 24
Case 17-42234-pwb   Doc 17    Filed 11/29/17 Entered 11/29/17 15:35:35   Desc Main
                             Document      Page 2 of 24
Case 17-42234-pwb   Doc 17    Filed 11/29/17 Entered 11/29/17 15:35:35   Desc Main
                             Document      Page 3 of 24
Case 17-42234-pwb   Doc 17    Filed 11/29/17 Entered 11/29/17 15:35:35   Desc Main
                             Document      Page 4 of 24
Case 17-42234-pwb   Doc 17    Filed 11/29/17 Entered 11/29/17 15:35:35   Desc Main
                             Document      Page 5 of 24
Case 17-42234-pwb   Doc 17    Filed 11/29/17 Entered 11/29/17 15:35:35   Desc Main
                             Document      Page 6 of 24
Case 17-42234-pwb   Doc 17    Filed 11/29/17 Entered 11/29/17 15:35:35   Desc Main
                             Document      Page 7 of 24
Case 17-42234-pwb   Doc 17    Filed 11/29/17 Entered 11/29/17 15:35:35   Desc Main
                             Document      Page 8 of 24
Case 17-42234-pwb   Doc 17    Filed 11/29/17 Entered 11/29/17 15:35:35   Desc Main
                             Document      Page 9 of 24
Case 17-42234-pwb   Doc 17    Filed 11/29/17 Entered 11/29/17 15:35:35   Desc Main
                             Document     Page 10 of 24
Case 17-42234-pwb   Doc 17    Filed 11/29/17 Entered 11/29/17 15:35:35   Desc Main
                             Document     Page 11 of 24
Case 17-42234-pwb   Doc 17    Filed 11/29/17 Entered 11/29/17 15:35:35   Desc Main
                             Document     Page 12 of 24
Case 17-42234-pwb   Doc 17    Filed 11/29/17 Entered 11/29/17 15:35:35   Desc Main
                             Document     Page 13 of 24
Case 17-42234-pwb   Doc 17    Filed 11/29/17 Entered 11/29/17 15:35:35   Desc Main
                             Document     Page 14 of 24
Case 17-42234-pwb   Doc 17    Filed 11/29/17 Entered 11/29/17 15:35:35   Desc Main
                             Document     Page 15 of 24
Case 17-42234-pwb   Doc 17    Filed 11/29/17 Entered 11/29/17 15:35:35   Desc Main
                             Document     Page 16 of 24
Case 17-42234-pwb   Doc 17    Filed 11/29/17 Entered 11/29/17 15:35:35   Desc Main
                             Document     Page 17 of 24
Case 17-42234-pwb   Doc 17    Filed 11/29/17 Entered 11/29/17 15:35:35   Desc Main
                             Document     Page 18 of 24
Case 17-42234-pwb   Doc 17    Filed 11/29/17 Entered 11/29/17 15:35:35   Desc Main
                             Document     Page 19 of 24
Case 17-42234-pwb   Doc 17    Filed 11/29/17 Entered 11/29/17 15:35:35   Desc Main
                             Document     Page 20 of 24
Case 17-42234-pwb   Doc 17    Filed 11/29/17 Entered 11/29/17 15:35:35   Desc Main
                             Document     Page 21 of 24
Case 17-42234-pwb   Doc 17    Filed 11/29/17 Entered 11/29/17 15:35:35   Desc Main
                             Document     Page 22 of 24
Case 17-42234-pwb   Doc 17    Filed 11/29/17 Entered 11/29/17 15:35:35   Desc Main
                             Document     Page 23 of 24
Case 17-42234-pwb   Doc 17    Filed 11/29/17 Entered 11/29/17 15:35:35   Desc Main
                             Document     Page 24 of 24
